Filed 8/21/24 P. v. Resendiz CA4/3



                NOT TO BE PUBLISHED IN OFFICIAL REPORTS
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        IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                               FOURTH APPELLATE DISTRICT

                                           DIVISION THREE


 THE PEOPLE,

      Plaintiff and Respondent,                                   G062714

          v.                                                      (Super. Ct. No. 93CF3219)

 VINCENT RESENDIZ,                                                OPINION

      Defendant and Appellant.



                 Appeal from a postjudgment order of the Superior Court of
Orange County, Michael A. Leversen, Judge. Reversed and remanded with
directions.
                 Ava R. Stralla, under appointment by the Court of Appeal, for
Defendant and Appellant.
                 Rob Bonta, Attorney General, Lance E. Winters, Chief Assistant
Attorney General, Charles C. Ragland, Assistant Attorney General, Daniel
Rogers and Elizabeth M. Kuchar, Deputy Attorneys General, for Plaintiff and
Respondent.
            In 1995, appellant was convicted of murder and attempted
voluntary manslaughter. In 2023, after conducting an evidentiary hearing
under Penal Code section 1172.6, the trial court denied appellant’s petition to
vacate his murder conviction, but it granted his request to vacate his
conviction for attempted voluntary manslaughter. The parties agree, as do
we, that both aspects of the trial court’s order are incorrect. We thus reverse
the order and remand for further proceedings.
              FACTUAL AND PROCEDRUAL BACKGROUND
            In 1993, appellant was involved in a drive-by shooting that killed
one person and wounded another. Although appellant was not the shooter,
he was tried for first degree murder and attempted premeditated murder as
an accomplice. The jury was instructed on both the direct and the natural
and probable consequences theories of aiding and abetting. However, it was
not instructed on the felony murder theory of liability.
            The jury convicted appellant of the lesser included offenses of
second degree murder and attempted voluntary manslaughter, with an
attendant enhancement for being vicariously armed with a firearm. (Pen.
Code, §§ 187, 189, 664/192, subd. (a), 12022, subd. (a)(1).) The trial court
sentenced him to prison for 20 years to life, and we affirmed the judgment on
appeal. (People v. Resendiz et al. (Feb. 25, 1998, G019384) [nonpub. opn.].)
            In 2020, in response to appellant’s petition for resentencing, the
trial court issued an order to show cause and conducted an evidentiary
hearing pursuant to Penal Code section 1172.6, subdivisions (c) and (d). At
the hearing, the parties directed their arguments to whether there was
sufficient evidence at appellant’s trial to prove he directly aided and abetted
the shootings with malice. Neither side argued nor relied on the felony
murder theory of liability.

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            Nevertheless, the trial court relied on that theory alone in
denying appellant’s petition for resentencing on his murder conviction. In
particular, the trial court determined appellant was ineligible for relief as to
that offense because he was a major participant in the underlying felony of
firing a firearm from a motor vehicle, and he acted in a manner that was
recklessly indifferent to human life within the meaning of Penal Code section
189, subdivision (e)(3). However, the court vacated appellant’s conviction for
attempted voluntary manslaughter and resentenced him to 16 years to life in
prison. This appeal followed.
                                 DISCUSSION
            Appellant claims the trial court erred in relying on the felony
murder theory in denying his petition for resentencing on his murder
conviction, and the Attorney General concedes the error. In fact, the state
admits that not only did the prosecution avoid the felony murder theory at
trial and in opposing appellant’s resentencing petition, that theory is legally
inapt to the facts of this case. (See People v. Chun (2009) 45 Cal.4th 1172,
1200 [if the underlying felony is assaultive in nature, it merges with the
homicide and cannot be used to support a conviction for felony murder].)
            Therefore, we agree with the parties that the trial court’s order
denying appellant relief on his murder conviction must be reversed, and the
matter must be remanded for a new evidentiary hearing. (People v. Reyes
(2023) 14 Cal.5th 981, 992; People v. Arnold (2023) 93 Cal.App.5th 376, 391.)
At the hearing, the prosecution must prove beyond a reasonable doubt that
appellant is guilty of murder under a currently valid theory of liability, such
as direct aiding and abetting. (People v. Curiel (2023) 15 Cal.5th 433, 463.)
Otherwise, the trial court must vacate his murder conviction and resentence
him pursuant to the terms of Penal Code section 1172.6.

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            The other component of the trial court’s ruling – granting
appellant relief on his conviction for attempted voluntary manslaughter – is
also under attack in this appeal. The Attorney General contends that aspect
of the court’s order is void as a matter of law because attempted voluntary
manslaughter is not listed among the offenses that are subject to vacatur
under Penal Code section 1172.6. (See Pen. Code, § 1172.6, subd. (a) [listing
murder, attempted murder and manslaughter as the only offenses that are
subject to vacatur and resentencing].)
            Appellant does not dispute this claim, and for good reason. The
law is well established that a trial court order which is void on the face of the
record may be set aside at any time. (Luckenbach v. Krempel (1922) 188 Cal.
175, 176-177; People v. Serrato (1973) 9 Cal.3d 753, 763, disapproved on
another ground as stated in People v. Fosselman (1983) 33 Cal.3d 572, 583,
fn.1.) This rule applies to unauthorized sentencing decisions (People v. Scott
(1994) 9 Cal.4th 331, 354), including those that are purportedly sanctioned by
a remedial sentencing statute. (See, e.g., People v. Burhop (2021) 65
Cal.App.5th 808, 814 [reversing an unauthorized vacatur order that was
issued under Penal Code section 1172.6]; People v. Amaya (2015) 239
Cal.App.4th 379 [reversing an unauthorized sentencing reduction under
Proposition 36].) Accordingly, the trial court’s decision to vacate appellant’s
conviction for attempted voluntary manslaughter cannot stand.
                                 DISPOSITION
            The trial court’s order is reversed, and the matter is remanded
for further proceedings. On remand, the trial court shall enter a new order
denying appellant’s petition to vacate his conviction for attempted voluntary
manslaughter. The court shall also conduct a new evidentiary hearing on



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appellant’s entitlement to vacatur and resentencing on his conviction for
second degree murder.




                                          BEDSWORTH, ACTING P. J.

WE CONCUR:



MOORE, J.



SANCHEZ, J.




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